Case 0:17-cv-62428-KMW Document 52 Entered on FLSD Docket 11/05/2019 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 17-62428-CIV-WILLIAMS/REID
                                  (12-60049-CR-WILLIAMS)



  ROGERIO CHAVES SCOTTON,
                 Movant,

  v.

  UNITED STATES OF AMERICA,
                    Respondent.
  ______________________________/


                    GOVERNMENT’S MOTION FOR AN ENLARGEMENT
                       OF TIME WITHIN WHICH TO RESPOND TO
                     MOVANT’S MOTION TO VACATE, SET ASIDE OR
                    CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

         The United States of America, by and through its undersigned Assistant United States

  Attorney, moves this Honorable Court for a thirty-day enlargement of time within which to

  respond to movant’s Motion to Vacate, Set Aside or Correct Sentence pursuant to Title 28, U.S.C.,

  Section 2255. The grounds for this motion are as follows:

         1.      On December 11, 2017, movant filed the § 2255 motion at issue here (DE 1). The

  forty-nine page motion raises several allegations of ineffective assistance of counsel.

         2.      On December 11, 2017, movant filed a motion for leave to amend his motion

  (DE 3). This motion in turn raises several more allegations.

         3.      On December 28, 2017, the Court entered an order dismissing the motion (DE 8).

  Movant appealed (DE 10-11). After the government conceded error before the appellate court, the

  Eleventh Circuit Court of Appeals entered judgment vacating and remanding the motion to this
Case 0:17-cv-62428-KMW Document 52 Entered on FLSD Docket 11/05/2019 Page 2 of 3



  Court as having been improperly dismissed as an unauthorized second or successive § 2255 motion

  (DE 23).

         4.       On April 30, 2019, the Court entered an order re-opening the case and referring the

  matter to Magistrate Judge Reid (DE 24).

         5.       On May 17, 2019, movant filed a supplemental memorandum in support of his

  motion to vacate (DE 27). This forty-six page motion raises several more issues, both new as well

  as supplemental to the issues already raised. Movant did not receive leave of Court to file this

  second amended motion pursuant to Fed.R.Civ.P. 15(a).

         6.       On October 7, 2019, Magistrate Judge Reid entered an Order to Show Cause

  requiring the government to respond to the motion within thirty days, or on or before November 6,

  2019 (DE 43).

         7.       On October 24, 2019, movant filed another motion seeking to amend his § 2255

  motion (DE 49). This twenty-eight page motion was also filed without leave of Court to amend

  under Fed.R.Civ.P. 15(a).

         8.       The undersigned needs additional time because the Movant’s multiple pleadings

  are confusing, rambling and difficult to sort out. He has raised a plethora of issues that require

  additional time to both decipher and address. This matter has presented more challenges that have

  taken, and continue to take more time, than expected at the outset of this endeavor.




                                                   2
Case 0:17-cv-62428-KMW Document 52 Entered on FLSD Docket 11/05/2019 Page 3 of 3



         WHEREFORE, the United States respectfully requests that the Court extend its response

  time to December 6, 2019.

                                               Respectfully submitted,

                                               ARIANA FAJARDO ORSHAN
                                               UNITED STATES ATTORNEY


                                               BY: /s Bertha R. Mitrani
                                               Bertha R. Mitrani
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 5, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. This is to certify that a copy of the foregoing

  has been mailed to: Rogerio Chaves Scotton, 99370-004, D. Ray James Correctional Institution,

  Inmate Mail/Parcels, Post Office Box 2000, Folkston, GA 31537

                                       s/   Bertha R. Mitrani

                                       Bertha R. Mitrani




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